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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                      September 23, 2024
                               UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 7
                                                           §
ALEXANDER E. JONES,                                        § Case No. 22-33553 (CML)
                                                           §
                   Debtor.                                 §
                                                           §
                                                           §

      ORDER GRANTING TRUSTEE’S EMERGENCY MOTION FOR ENTRY OF AN
            ORDER AUTHORIZING (I) THE SALE OF REAL PROPERTY
              AND (II) CONTINUED RETENTION OF SALE BROKER
                           [Relates to Docket No. 837]

           The Court has considered the Trustee’s Emergency Motion for Entry of an Order

Authorizing (I) the Sale of Real Property and (II) Retention of Sale Broker (the “Motion”), 1

authorizing the sale of the Property pursuant to 11 U.S.C. §363(f) and the continued retention of

Keller Williams Realty and its related subsidiaries as real estate broker, pursuant to sections

105(a), 327, 363, and 704(a) of the Bankruptcy Code, Bankruptcy Rule 2014, and Local Rules

2014-1 and the Declaration of Jaymes Willoughby at Docket No. 535. The Court finds that the

requested relief is appropriate, that the continued employment of the Broker on the terms set forth

in the Listing Agreement as well as the extension of the original term of the Listing Agreement is

in the best interests of the estate, that the Trustee has exercised reasonable business judgment in

seeking approval of the sale of the Property pursuant to the terms of the offer attached to the Motion

as Exhibit 1, that the purchase price is fair and reasonable, that the terms of the sale of the Property

were negotiated in good faith and at arms’ length, and that the relief requested in the Motion should



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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be granted. The Court further finds that adequate notice of the Motion and the hearing to consider

the Motion, if any, have been given to all creditors and parties-in-interest under the circumstances

present in this case. Accordingly, it is

        ORDERED THAT:

        1.      The Trustee is authorized to sell the Property free and clear of all liens, claims,

encumbrances, and interests pursuant to 11 U.S.C. § 363(f) on the terms set forth in the offer

attached to the Motion as Exhibit 1, or to any alternative buyer, who makes, in the Trustee’s

business judgment, the highest or otherwise best offer to purchase the Property;

        2.      Any lien, claim or encumbrance on the Property sold shall attach to the proceeds of

the sale of such Property with the same priority and validity as existed on the Property immediately

prior to the sale;

        3.      Upon the consummation of the sale, all persons holding any lien, claim, or

encumbrance against or in the Property of any kind or nature whatsoever, are forever barred,

estopped, and permanently enjoined from asserting, prosecuting or otherwise pursuing such lien,

claim, interest or encumbrance against the purchaser of the Property or the Property itself.

        4.      The Trustee is authorized to continue to employ the Broker under the Listing

Agreement at Docket 535, provided however, that the term of the Listing Agreement is hereby

extended to December 31, 2024.

        5.      At closing, the Trustee is authorized to pay from the sales proceeds the amount of

any broker commission described in the Listing Agreement, any liens, and any customary costs of

closing.

        6.      All objections to, reservations of rights regarding, or other responses to the Motion

or the relief requested therein or the entry of this Order, that have not been withdrawn, waived, or



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settled, or that have not otherwise been resolved pursuant to the terms hereof, are hereby denied

and overruled on the merits with prejudice. Those parties who did not timely object to the Motion

or the entry of this Order, or who withdrew their objections thereto, are deemed to have consented

to the relief granted herein for all purposes, including without limitation, pursuant to section

363(f)(2) of the Bankruptcy Code.

       7.       Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

enforceable immediately upon entry hereof.

       8.       The Trustee is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

       9.       This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.

SIGNED:                                 , 2024

             August 02,
             September  2019
                       23, 2024
                                                 Honorable Christopher M. Lopez
                                                 United States Bankruptcy Judge




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